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            APPENDIX A
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 STATE       COUNT(S)     SECTION(S)            STATUTE                          RELEVANT TEXT
                         IN RESPONSE
 Arizona      Count II   Sects. III, IV(A)   Ariz. Rev. Stat. §    The act, use or employment by any person of any
                                               44-1522(A)              deception, deceptive or unfair act or practice,
                                                                            fraud, false pretense, false promise,
                                                                  misrepresentation, or concealment, suppression or
                                                                       omission of any material fact with intent that
                                                                    others rely on such concealment, suppression or
                                                                          omission, in connection with the sale or
                                                                   advertisement of any merchandise whether or not
                                                                     any person has in fact been misled, deceived or
                                                                     damaged thereby, is declared to be an unlawful
                                                                                           practice.
California   Count III       Sect. III       Cal. Bus. & Prof.     It is unlawful for any person, firm, corporation or
                                              Code § 17500          association, or any employee thereof with intent
                                                                  directly or indirectly to dispose of real or personal
                                                                     property or to perform services, professional or
                                                                    otherwise, or anything of any nature whatsoever
                                                                  or to induce the public to enter into any obligation
                                                                    relating thereto, to make or disseminate or cause
                                                                     to be made or disseminated before the public in
                                                                  this state, or to make or disseminate or cause to be
                                                                     made or disseminated from this state before the
                                                                       public in any state, in any newspaper or other
                                                                        publication, or any advertising device, or by
                                                                       public outcry or proclamation, or in any other
                                                                      manner or means whatever, including over the
                                                                      Internet, any statement, concerning that real or
                                                                    personal property or those services, professional
                                                                    or otherwise, or concerning any circumstance or
                                                                         matter of fact connected with the proposed
                                                                        performance or disposition thereof, which is
                                                                       untrue or misleading, and which is known, or

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 STATE        COUNT(S)     SECTION(S)             STATUTE                           RELEVANT TEXT
                          IN RESPONSE
 California                                                            which by the exercise of reasonable care should
(continued)                                                                  be known, to be untrue or misleading.
 California   Count IV    Sects. I, III, IV    Cal. Bus. & Prof.       As used in this chapter, unfair competition shall
                                                Code § 17200              mean and include any unlawful, unfair or
                                                                        fraudulent business act or practice and unfair,
                                                                         deceptive, untrue or misleading advertising
 Colorado      Count V     Sects. III, IV     Colo. Rev. Stat. § 6-    A person engages in a deceptive trade practice
                                                  1-105(1)(e)            when, in the course of the person’s business,
                                                                              vocation, or occupation, the person:
                                                                      (e) Either knowingly or recklessly makes a false
                                                                            representation as to the characteristics,
                                                                           ingredients, uses, benefits, alterations, or
                                                                      quantities of goods, food, services, or property or
                                                                         a false representation as to the sponsorship,
                                                                       approval, status, affiliation, or connection of a
                                                                                        person therewith.
 Colorado     Count VI     Sects. III, IV     Colo. Rev. Stat. § 6-    A person engages in a deceptive trade practice
                                                  1-105(1)(g)            when, in the course of the person’s business,
                                                                              vocation, or occupation, the person:
                                                                         (g) Represents that goods, food, services, or
                                                                       property are of a particular standard, quality, or
                                                                       grade, or that goods are of a particular style or
                                                                      model, if he knows or should know that they are
                                                                                            of another.
 Colorado     Count VII    Sects. III, IV     Colo. Rev. Stat. § 6-    A person engages in a deceptive trade practice
                                                  1-105(1)(u)            when, in the course of the person’s business,
                                                                              vocation, or occupation, the person:
                                                                           (u) Fails to disclose material information
                                                                       concerning goods, services, or property which
                                                                           information was known at the time of an

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 STATE        COUNT(S)       SECTION(S)              STATUTE                          RELEVANT TEXT
                            IN RESPONSE
 Colorado                                                                advertisement or sale if such failure to disclose
(continued)                                                                such information was intended to induce the
                                                                               consumer to enter into a transaction.
 Colorado     Count VIII      Sects. III, IV     Colo. Rev. Stat. § 6-   A person engages in a deceptive trade practice
                                                    1-105(1)(rrr)         when, in the course of the person’s business,
                                                                               vocation, or occupation, the person:
                                                                         (rrr) Either knowingly or recklessly engages in
                                                                              any unfair, unconscionable, deceptive,
                                                                       deliberately misleading, false, or fraudulent act or
                                                                                             practice.
Connecticut    Count IX     Sects. III, IV(A),    Conn. Gen. Stat. §       No person shall engage in unfair methods of
                                    V                42-110b (a)            competition and unfair or deceptive acts or
                                                                       practices in the conduct of any trade or commerce.
 Delaware      Count X      Sects. III, IV(A)     Del. Code Ann. §     The act, use, or employment by any person of any
                                                       2513(a)           deception, fraud, false pretense, false promise,
                                                                             misrepresentation, unfair practice, or the
                                                                          concealment, suppression, or omission of any
                                                                       material fact with intent that others rely upon such
                                                                            concealment, suppression, or omission, in
                                                                            connection with the sale, lease, receipt, or
                                                                       advertisement of any merchandise, whether or not
                                                                        any person has in fact been misled, deceived, or
                                                                             damaged thereby, is an unlawful practice.
 Delaware      Count XI         Sect. III         Del. Code Ann. §       A person engages in a deceptive trade practice
                                                    2532(a)(12)          when, in the course of a business, vocation, or
                                                                           occupation, that person engages in any other
                                                                         conduct which similarly creates a likelihood of
                                                                                confusion or of misunderstanding.
 Georgia      Counts XII-   Sects. III, IV(A),    O.C.G.A. § 10-1-          Unfair or deceptive acts or practices in the
                 XIII               V                   393(a)          conduct of consumer transactions and consumer

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 STATE        COUNT(S)      SECTION(S)            STATUTE                          RELEVANT TEXT
                           IN RESPONSE
  Georgia                                                               acts or practices in trade or commerce are
(continued)                                                                         declared unlawful.
  Hawai’i     Count XIV    Sects. III, IV(A),   Haw. Rev. Stat. §       Unfair methods of competition and unfair or
                                   V               480-2(a)           deceptive acts or practices in the conduct of any
                                                                               trade or commerce are unlawful.
  Illinois    Counts XV-   Sects. III, IV(A),   815 ILCS 505/2          Unfair methods of competition and unfair or
                 XVI               V                                    deceptive acts or practices, including but not
                                                                    limited to the use or employment of any deception
                                                                             fraud, false pretense, false promise,
                                                                    misrepresentation or the concealment, suppression
                                                                      or omission of any material fact, with intent that
                                                                     others rely upon the concealment, suppression or
                                                                        omission of such material fact, or the use or
                                                                     employment of any practice described in Section
                                                                    2 of the "Uniform Deceptive Trade Practices Act",
                                                                      approved August 5, 1965, in the conduct of any
                                                                     trade or commerce are hereby declared unlawful
                                                                        whether any person has in fact been misled,
                                                                                 deceived or damaged thereby.
  Illinois    Count XVII   Sects. III, IV(A)    815 ILCS 510/2         A person engages in a deceptive trade practice
                                                                         when, in the course of his or her business,
                                                                             vocation, or occupation, the person:
                                                                          (5) represents that goods or services have
                                                                    sponsorship, approval, characteristics, ingredients,
                                                                     uses, benefits, or quantities that they do not have
                                                                        or that a person has a sponsorship, approval,
                                                                       status, affiliation, or connection that he or she
                                                                                       does not have […]
                                                                        (7) represents that goods or services are of a
                                                                    particular standard, quality, or grade or that goods

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 STATE         COUNT(S)        SECTION(S)            STATUTE                         RELEVANT TEXT
                              IN RESPONSE
  Illinois                                                                 are a particular style or model, if they are of
(continued)                                                                                   another […]
                                                                              (12) engages in any other conduct which
                                                                           similarly creates a likelihood of confusion or
                                                                                          misunderstanding.
 Indiana      Counts XVIII-   Sects. III, IV, V   Ind. Code § 24-5-     (a) This chapter shall be liberally construed and
                  XIX                                   0.5-1              applied to promote its purposes and policies.
                                                                        (b) The purposes and policies of this chapter are
                                                                                                   to:
                                                                            (1) simplify, clarify, and modernize the law
                                                                              governing deceptive and unconscionable
                                                                                      consumer sales practices;
                                                                      (2) protect consumers from suppliers who commit
                                                                           deceptive and unconscionable sales acts; and
                                                                        (3) encourage the development of fair consumer
                                                                                            sales practices.
 Indiana      Counts XVIII-   Sects. III, IV, V   Ind. Code § 24-5-        "Consumer transaction" means a sale, lease,
                  XIX                                0.5-2(a)(1)      assignment, award by chance, or other disposition
                                                                         of an item of personal property, real property, a
                                                                          service, or an intangible, except securities and
                                                                            policies or contracts of insurance issued by
                                                                        corporations authorized to transact an insurance
                                                                         business under the laws of the state of Indiana,
                                                                      with or without an extension of credit, to a person
                                                                       for purposes that are primarily personal, familial,
                                                                             charitable, agricultural, or household, or a
                                                                             solicitation to supply any of these things.
                                                                             However, the term includes the following:
                                                                         (A) A transfer of structured settlement payment
                                                                                       rights under IC 34-50-2.

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 STATE         COUNT(S)        SECTION(S)          STATUTE                           RELEVANT TEXT
                              IN RESPONSE
  Indiana                                                             (B) An unsolicited advertisement sent to a person
(continued)                                                             by telephone facsimile machine offering a sale,
                                                                          lease, assignment, award by chance, or other
                                                                        disposition of an item of personal property, real
                                                                               property, a service, or an intangible.
                                                                       (C) The collection of or attempt to collect a debt
                                                                                        by a debt collector.
 Indiana      Counts XVIII-    Sects. III, IV   Ind. Code § 24-5-     A supplier may not commit an unfair, abusive, or
                  XIX                                0.5-3(a)         deceptive act, omission, or practice in connection
                                                                            with a consumer transaction. Such an act,
                                                                        omission, or practice by a supplier is a violation
                                                                      of this chapter whether it occurs before, during, or
                                                                      after the transaction. An act, omission, or practice
                                                                        prohibited by this section includes both implicit
                                                                                 and explicit misrepresentations.
 Indiana      Counts XVIII-    Sects. III, IV   Ind. Code § 24-5-      Without limiting the scope of subsection (a), the
                  XIX                           0.5-3(b)(1); (b)(2)    following acts, and the following representations
                                                                      as to the subject matter of a consumer transaction,
                                                                             made orally, in writing, or by electronic
                                                                      communication, by a supplier, are deceptive acts:
                                                                        (1) That such subject of a consumer transaction
                                                                            has sponsorship, approval, performance,
                                                                         characteristics, accessories, uses, or benefits it
                                                                      does not have which the supplier knows or should
                                                                                reasonably know it does not have.
                                                                      (2) That such subject of a consumer transaction is
                                                                        of a particular standard, quality, grade, style, or
                                                                         model, if it is not and if the supplier knows or
                                                                              should reasonably know that it is not.



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 STATE      COUNT(S)       SECTION(S)              STATUTE                          RELEVANT TEXT
                          IN RESPONSE
 Kansas      Count XX        Sect. III         K.S.A. § 50-626(a)      No supplier shall engage in any deceptive act or
                                                                             practice in connection with a consumer
                                                                                            transaction.
 Kansas     Count XXI         Sect. IV         K.S.A. § 50-627(a)      No supplier shall engage in any unconscionable
                                                                        act or practice in connection with a consumer
                                                                        transaction. An unconscionable act or practice
                                                                       violates this act whether it occurs before, during
                                                                                     or after the transaction.
Kentucky    Count XXII    Sects. III, IV(A),     Ky. Rev. Stat.          Unfair, false, misleading, or deceptive acts or
                                  V                 Chapter §        practices in the conduct of any trade or commerce
                                                   367.170(1)                     are hereby declared unlawful.
Louisiana   Count XXIII   Sects. III, IV(A),   La. Rev. Stat. Ann.       Unfair methods of competition and unfair or
                                  V              § 51:1405(A)          deceptive acts or practices in the conduct of any
                                                                      trade or commerce are hereby declared unlawful.
 Maine      Count XXIV    Sects. III, IV(A),   Me. Rev. Stat. Ann.       Unfair methods of competition and unfair or
                                  V               Tit. 5, § 207        deceptive acts or practices in the conduct of any
                                                                           trade or commerce are declared unlawful.
Michigan    Count XXV     Sects. III, IV(A),   Mich. Comp. Laws         Unfair, unconscionable, or deceptive methods,
                                  V               § 445.903               acts, or practices in the conduct of trade or
                                                                                     commerce are unlawful.
Minnesota   Count XXVI        Sect. III           Minn. Stat. §         A person engages in a deceptive trade practice
                                                    325D.44,             when, in the course of business, vocation, or
                                                  subdivision 1                      occupation, the person:
                                                                           (5) represents that goods or services have
                                                                     sponsorship, approval, characteristics, ingredients,
                                                                      uses, benefits, or quantities that they do not have
                                                                         or that a person has a sponsorship, approval,
                                                                       status, affiliation, or connection that the person
                                                                                          does not have;


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 STATE         COUNT(S)       SECTION(S)            STATUTE                          RELEVANT TEXT
                             IN RESPONSE
 Minnesota                                                                 (7) represents that goods or services are of a
(continued)                                                           particular standard, quality, or grade, or that goods
                                                                         are of a particular style or model, if they are of
                                                                                             another; and
                                                                      (14) engages in any other conduct which similarly
                                                                              creates a likelihood of confusion or of
                                                                                         misunderstanding.
Minnesota     Count XXVII        Sect. IV          Minn. Stat. §       1. A person engages in a deceptive trade practice
                                                     325D.44,              when, in the course of business, vocation, or
                                                 subdivisions 1(13)                    occupation, the person:
                                                      and 2(b)        (13) engages in (i) unfair methods of competition,
                                                                       or (ii) unfair or unconscionable acts or practices.
                                                                        2.(b) For purposes of subdivision 1, clause (13),
                                                                           the standard of proof provided under section
                                                                                  325F.69, subdivision 8, applies.
 Missouri     Count XXVIII   Sects. III, IV, V    Mo. Rev. Stat. §    The act, use or employment by any person of any
                                                    407.020.1            deception, fraud, false pretense, false promise,
                                                                             misrepresentation, unfair practice or the
                                                                          concealment, suppression, or omission of any
                                                                            material fact in connection with the sale or
                                                                          advertisement of any merchandise in trade or
                                                                      commerce or the solicitation of any funds for any
                                                                      charitable purpose, as defined in section 407.453,
                                                                       in or from the state of Missouri, is declared to be
                                                                        an unlawful practice. The use by any person, in
                                                                       connection with the sale or advertisement of any
                                                                             merchandise in trade or commerce or the
                                                                            solicitation of any funds for any charitable
                                                                      purpose, as defined in section 407.453, in or from
                                                                        the state of Missouri of the fact that the attorney

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 STATE         COUNT(S)       SECTION(S)            STATUTE                          RELEVANT TEXT
                             IN RESPONSE
 Missouri                                                               general has approved any filing required by this
(continued)                                                            chapter as the approval, sanction or endorsement
                                                                      of any activity, project or action of such person, is
                                                                       declared to be an unlawful practice. Any act, use
                                                                            or employment declared unlawful by this
                                                                           subsection violates this subsection whether
                                                                           committed before, during or after the sale,
                                                                                   advertisement or solicitation.
Nebraska      Counts XXIX- Sects. III, IV(A),    Neb. Rev. Stat. §        Unfair methods of competition and unfair or
                 XXX               V              59-1602; § 87-       deceptive acts or practices in the conduct of any
                                                302(a); § 87-303.01           trade or commerce shall be unlawful.
Nebraska      Count XXXI         Sect. III       Neb. Rev. Stat. §       A person engages in a deceptive trade practice
                                                    87-302(a)               when, in the course of his or her business,
                                                                                vocation, or occupation, he or she:
                                                                             (2) Causes likelihood of confusion or of
                                                                        misunderstanding as to the source, sponsorship,
                                                                         approval, or certification of goods or services;
                                                                           (5) Represents that goods or services have
                                                                      sponsorship, approval, characteristics, ingredients,
                                                                       uses, benefits, or quantities that they do not have
                                                                          or that a person has a sponsorship, approval,
                                                                         status, affiliation, or connection that he or she
                                                                                           does not have;
                                                                        (7) Represents that goods are original or new if
                                                                          they are deteriorated, altered, reconditioned,
                                                                      reclaimed, used, or secondhand, except that sellers
                                                                      may repair damage to and make adjustments on or
                                                                       replace parts of otherwise new goods in an effort
                                                                        to place such goods in compliance with factory
                                                                                           specifications;

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 STATE         COUNT(S)       SECTION(S)          STATUTE                          RELEVANT TEXT
                             IN RESPONSE
 Nebraska                                                            (9) Disparages the goods, services, or business of
(continued)                                                           another by false or misleading representation of
                                                                                              fact;
                                                                       (14) With respect to a sale or lease to a natural
                                                                      person of goods or services purchased or leased
                                                                        primarily for personal, family, household, or
                                                                    agricultural purposes, uses or employs any referral
                                                                            or chain referral sales technique, plan,
                                                                                 arrangement, or agreement.
Nebraska      Count XXXII     Sect. IV(A)      Neb. Rev. Stat. §    An unconscionable act or practice by a supplier in
                                                 87-303.01          connection with a consumer transaction shall be a
                                                                         violation of the Uniform Deceptive Trade
                                                                                         Practices Act.
New Jersey    Count XXXIII    Sects. III, IV   N.J. Stat. Ann. §§    The act, use or employment by any person of any
                                                     56:8-2            commercial practice that is unconscionable or
                                                                       abusive, deception, fraud, false pretense, false
                                                                        promise, misrepresentation, or the knowing,
                                                                       concealment, suppression, or omission of any
                                                                    material fact with intent that others rely upon such
                                                                         concealment, suppression or omission, in
                                                                      connection with the sale or advertisement of any
                                                                    merchandise or real estate, or with the subsequent
                                                                    performance of such person as aforesaid, whether
                                                                         or not any person has in fact been misled,
                                                                    deceived or damaged thereby, is declared to be an
                                                                         unlawful practice; provided, however, that
                                                                     nothing herein contained shall apply to the owner
                                                                           or publisher of newspapers, magazines,
                                                                        publications or printed matter wherein such
                                                                    advertisement appears, or to the owner or operator
                                                                    of a radio or television station which disseminates

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 STATE         COUNT(S)      SECTION(S)         STATUTE                          RELEVANT TEXT
                            IN RESPONSE
New Jersey                                                         such advertisement when the owner, publisher, or
(continued)                                                       operator has no knowledge of the intent, design or
                                                                                  purpose of the advertiser.
New York      Count XXXIV    Sects. III, V   N.Y. Gen. Bus. Law     Deceptive acts or practices in the conduct of any
                                                  § 349(a)          business, trade or commerce or in the furnishing
                                                                      of any service in this state are hereby declared
                                                                                           unlawful.
New York      Count XXXV     Sects. III, V   N.Y. Gen. Bus. Law     False advertising in the conduct of any business,
                                                   § 350              trade or commerce or in the furnishing of any
                                                                    service in this state is hereby declared unlawful.
New York        Counts         Sect. III      N.Y. Exec. Law §        Whenever any person shall engage in repeated
               XXXVI-                              63(12)         fraudulent or illegal acts or otherwise demonstrate
               XXXVIII                                                persistent fraud or illegality in the carrying on,
                                                                  conducting or transaction of business, the attorney
                                                                     general may apply, in the name of the people of
                                                                   the state of New York, to the supreme court of the
                                                                    state of New York, on notice of five days, for an
                                                                    order enjoining the continuance of such business
                                                                        activity or of any fraudulent or illegal acts,
                                                                        directing restitution and damages and, in an
                                                                     appropriate case, cancelling any certificate filed
                                                                     under and by virtue of the provisions of section
                                                                       four hundred forty of the former penal law or
                                                                   section one hundred thirty of the general business
                                                                  law, and the court may award the relief applied for
                                                                      or so much thereof as it may deem proper. The
                                                                   word “fraud” or “fraudulent” as used herein shall
                                                                    include any device, scheme or artifice to defraud
                                                                           and any deception, misrepresentation,
                                                                      concealment, suppression, false pretense, false
                                                                  promise or unconscionable contractual provisions.

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   STATE          COUNT(S)       SECTION(S)            STATUTE                         RELEVANT TEXT
                                IN RESPONSE
  New York                                                              The term “persistent fraud” or “illegality” as used
 (continued)                                                            herein shall include continuance or carrying on of
                                                                         any fraudulent or illegal act or conduct. The term
                                                                         “repeated” as used herein shall include repetition
                                                                          of any separate and distinct fraudulent or illegal
                                                                             act, or conduct which affects more than one
                                                                                                person.
North Carolina   Count XXXIX Sects. III, IV(A),      N.C.G.S. § 75-        Unfair methods of competition in or affecting
                                     V                   1.1(a)               commerce, and unfair or deceptive acts or
                                                                          practices in or affecting commerce, are declared
                                                                                               unlawful.
North Dakota      Counts XL-    Sects. III, IV(A)   N.D. Cent. Code §   The act, use, or employment by any person of any
                     XLI                                51-15-02           deceptive act or practice, fraud, false pretense,
                                                                            false promise, or misrepresentation, with the
                                                                         intent that others rely thereon in connection with
                                                                           the sale or advertisement of any merchandise,
                                                                        whether or not any person has in fact been misled,
                                                                        deceived, or damaged thereby, is declared to be an
                                                                        unlawful practice. The act, use, or employment by
                                                                          any person of any act or practice, in connection
                                                                                 with the sale or advertisement of any
                                                                          merchandise, which is unconscionable or which
                                                                         causes or is likely to cause substantial injury to a
                                                                         person which is not reasonably avoidable by the
                                                                                injured person and not outweighed by
                                                                              countervailing benefits to consumers or to
                                                                        competition, is declared to be an unlawful practice
    Ohio          Count XLII        Sect. III       Ohio Rev. Code §      No supplier shall commit an unfair or deceptive
                                                      1345.02(A)           act or practice in connection with a consumer
                                                                           transaction. Such an unfair or deceptive act or


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 STATE        COUNT(S)       SECTION(S)        STATUTE                          RELEVANT TEXT
                            IN RESPONSE
   Ohio                                                          practice by a supplier violates this section whether
(continued)                                                       it occurs before, during, or after the transaction.
   Ohio       Count XLIII    Sect. IV(A)    Ohio Rev. Code §       No supplier shall commit an unconscionable act
                                              1345.03(A)               or practice in connection with a consumer
                                                                      transaction. Such an unconscionable act or
                                                                 practice by a supplier violates this section whether
                                                                   it occurs before, during, or after the transaction.
 Oregon       Count XLIV      Sect. IV     O.R.S. § 646.607(1)    A person engages in an unlawful trade practice if
                                                                 in the course of the person’s business, vocation or
                                                                                  occupation the person:
                                                                       (1) Employs any unconscionable tactic in
                                                                   connection with selling, renting or disposing of
                                                                     real estate, goods or services, or collecting or
                                                                                 enforcing an obligation.
 Oregon       Count XLIV      Sect. IV          O.R.S. §         As used in ORS 336.184 and 646.605 to 646.652:
                                              646.605(9)(a)       (9) “Unconscionable tactics” include, but are not
                                                                         limited to, actions by which a person:
                                                                            (a) Knowingly takes advantage of a
                                                                 customer’s physical infirmity, ignorance, illiteracy
                                                                     or inability to understand the language of the
                                                                                       agreement[.]
 Oregon       Count XLV       Sect. III         O.R.S. §         A person engages in an unlawful practice if in the
                                              646.608(1)(e)           course of the person’s business, vocation or
                                                                  occupation the person does any of the following:
                                                                   (e) Represents that real estate, goods or services
                                                                      have sponsorship, approval, characteristics,
                                                                  ingredients, uses, benefits, quantities or qualities
                                                                  that the real estate, goods or services do not have
                                                                     or that a person has a sponsorship, approval,


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   STATE          COUNT(S)       SECTION(S)             STATUTE                          RELEVANT TEXT
                                IN RESPONSE
   Oregon                                                                 status, qualification, affiliation, or connection that
 (continued)                                                                           the person does not have.
   Oregon         Count XLVI        Sect. III            O.R.S. §         A person engages in an unlawful practice if in the
                                                       646.608(1)(t)           course of the person’s business, vocation or
                                                                           occupation the person does any of the following:
                                                                           (t) Concurrent with tender or delivery of any real
                                                                              estate, goods or services fails to disclose any
                                                                          known material defect or material nonconformity.
Pennsylvania       Counts     Sects. III, IV(A),      73 P.S. § 201-3         Unfair methods of competition and unfair or
                 XLVII-XLVIII         V                                     deceptive acts or practices in the conduct of any
                                                                            trade or commerce as defined by subclauses (i)
                                                                           through (xxi) of clause (4) of section 2 of this act
                                                                           and regulations promulgated under section 3.1 of
                                                                                this act are hereby declared unlawful. The
                                                                          provisions of this act shall not apply to any owner,
                                                                              agent or employee of any radio or television
                                                                           station, or to any owner, publisher, printer, agent
                                                                           or employee of a newspaper or other publication,
                                                                              periodical or circular, who, in good faith and
                                                                             without knowledge of the falsity or deceptive
                                                                                 character thereof, publishes, causes to be
                                                                           published or takes part in the publication of such
                                                                                               advertisement.
Rhode Island     Count XLIX     Sects. III, IV(A),   R.I. Gen. L. §§ 6-       Unfair methods of competition and unfair or
                                        V                  13.1-2           deceptive acts or practices in the conduct of any
                                                                                trade or commerce are declared unlawful.
South Carolina     Count L      Sects. III, IV(A),   S.C. Code Ann. §         Unfair methods of competition and unfair or
                                        V               39-5-20(a)          deceptive acts or practices in the conduct of any
                                                                           trade or commerce are hereby declared unlawful.


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 STATE       COUNT(S)       SECTION(S)             STATUTE                         RELEVANT TEXT
                           IN RESPONSE
 Virginia     Count LI        Sect. III         Va. Code §§ 59.1-        The following fraudulent acts or practices
                                                     200(A)            committed by a supplier in connection with a
                                                                          consumer transaction are hereby declared
                                                                                           unlawful:
                                                                      (5) Misrepresenting that goods or services have
                                                                       certain quantities, characteristics, ingredients,
                                                                                        uses, or benefits;
                                                                    (6) Misrepresenting that goods or services are of a
                                                                    particular standard, quality, grade, style, or model;
                                                                        (14) Using any other deception, fraud, false
                                                                      pretense, false promise, or misrepresentation in
                                                                           connection with a consumer transaction.
Washington   Counts LII-   Sects. III, IV(A),   Wash. Rev. Code §       Unfair methods of competition and unfair or
                LIII               V               19.86.020          deceptive acts or practices in the conduct of any
                                                                     trade or commerce are hereby declared unlawful.
Wisconsin    Count LIV         Sect. III           Wis. Stat. §        No person, firm, corporation or association, or
                                                   100.18(1)           agent or employee thereof, with intent to sell,
                                                                      distribute, increase the consumption of or in any
                                                                        wise dispose of any real estate, merchandise,
                                                                        securities, employment, service, or anything
                                                                        offered by such person, firm, corporation or
                                                                    association, or agent or employee thereof, directly
                                                                       or indirectly, to the public for sale, hire, use or
                                                                       other distribution, or with intent to induce the
                                                                    public in any manner to enter into any contract or
                                                                     obligation relating to the purchase, sale, hire, use
                                                                    or lease of any real estate, merchandise, securities,
                                                                        employment or service, shall make, publish,
                                                                     disseminate, circulate, or place before the public,
                                                                         or cause, directly or indirectly, to be made,

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 STATE        COUNT(S)    SECTION(S)        STATUTE                      RELEVANT TEXT
                         IN RESPONSE
 Wisconsin                                                  published, disseminated, circulated, or placed
(continued)                                                 before the public, in this state, in a newspaper,
                                                          magazine or other publication, or in the form of a
                                                             book, notice, handbill, poster, bill, circular,
                                                          pamphlet, letter, sign, placard, card, label, or over
                                                          any radio or television station, or in any other way
                                                               similar or dissimilar to the foregoing, an
                                                             advertisement, announcement, statement or
                                                          representation of any kind to the public relating to
                                                          such purchase, sale, hire, use or lease of such real
                                                              estate, merchandise, securities, service or
                                                          employment or to the terms or conditions thereof,
                                                          which advertisement, announcement, statement or
                                                                 representation contains any assertion,
                                                             representation or statement of fact which is
                                                                    untrue, deceptive or misleading.




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